        Case 11-45821-MBK        Doc 67     Filed 05/14/15 Entered 05/14/15 14:47:36        Desc Main
                                           Document      Page 1 of 2
LAW OFFICE OF ANDRE L. KYDALA
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(908) 735-261
ATTORNEY FOR STEPHANIE TETTMER ESQ
ALK-2393
                                                                 UNITED STATES BANKRUPTCY COURT
IN THE MATTER OF:                                                FOR THE DISTRICT OF NEW JERSEY

                                                                 CHAPTER 13
Diane A. Cook
                                                                 CASE NO: 11-45821

                                                                 HEARING DATE:
                                                                 NOTICE OF MOTION TO VACATE ORDER
                                                                 APPOINTING STEPHANIE TETTEMER AS
                                                                 SPECIAL COUNSEL TO THE DEBTOR




                To: Joan Sirkis Lavery
                    699 Washington Street
                    Hackettstown NJ 07840

                    Jonathan Stone Esq
                    490 Schooleys Mountain Rd
                     Hackettstown, NJ 07840

                    Charles Lee Esq
                    62 Goldfinch Dr
                    Hackettstown NJ 07840

                Sir/Madam:



                PLEASE TAKE NOTICE that the undersigned counsel to the Debtor, shall move before the

        United States Bankruptcy Court, at Trenton, New Jersey on             at 10:00 a.m., or as soon

        thereafter as counsel may be heard, for the following relief:
Case 11-45821-MBK       Doc 67    Filed 05/14/15 Entered 05/14/15 14:47:36 Desc Main
                                 Document        Page 2 of 2
              A) Vacating the order appointing Stephanie Tettemer as special counsel to the Debtor

              B) For such other and further relief as is just.




                                      LOCAL RULE 3(D)

       PLEASE TAKE FURTHER NOTICE that unless timely responsive papers are filed in

accordance with the appropriate rules, this Motion shall be deemed uncontested.




                                                       Andre L. Kydala, Esq.
                                                       54 Old Highway 22
                                                       P.O. Box 5537
                                                       Clinton, New Jersey 08809




Dated: 5/14/2015                                       By:/s/Andre L. Kydala, Esq.
